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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                 CRIMINAL ACTION


v.                                                       NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                        SECTION “F”



                                    ORDER


      IT IS ORDERED: that a telephone status conference is hereby

scheduled for January 22, 2021, at 1:30 p.m. for the purpose of

selecting a new jury trial date and case management schedule.

                        New Orleans, Louisiana, January 11, 2021


                                   ______________________________
                                        MARTIN L. C. FELDMAN
                                    UNITED STATES DISTRICT JUDGE




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